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  5   Attorney for Defendant
      Portfolio Recovery Associates, LLC
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  8
                         IN THE UNITED STATES DISTRICT COURT
  9
                            CENTRAL DISTRICT OF CALIFORNIA
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 12
       BAHAR SENGEL AND CENGIZ                             Case No. 5:19-cv-02198-DSF-SHK
       SENGEL,
 13                                                        DEFENDANT PORTFOLIO
 14                  Plaintiff,                            RECOVERY ASSOCIATES,
                                                           LLC’S ANSWER AND
 15           v.                                           AFFIRMATIVE DEFENSES
 16
       PORTFOLIO RECOVERY
 17    ASSOCIATES, LLC,
 18
                     Defendants.
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      DEFENDANT PRA ANSWER & DEFENSES   5:19-cv-02198-DSF-SHK                               1
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  1          Defendant, Portfolio Recovery Associates, LLC (“PRA”), by counsel, for its
  2   answer and defenses to Plaintiffs’ Complaint (“Complaint”), states:
  3          1.     PRA admits that Plaintiff purports to bring this case under the Fair Debt
  4   Collection Practices Act ("FDCPA"), 15 U.S.C. §1692 et seq., and the California
  5   Rosenthal Act (RFDCPA), Civil Code § 1788 et seq. To the extent a response is
  6   required, PRA denies it has violated the FDCPA and/or the RFDCPA.
  7          2.     PRA admits that Plaintiff purports that jurisdiction is proper in this
  8   Court. PRA denies it has violated the FDCPA and/or the RFDCPA.
  9          3.      PRA admits that Plaintiff purports that venue is proper in this Court. To
 10   the extent not herein admitted the remaining allegations of this paragraph are denied.
 11          4.     PRA states that it lacks information or knowledge sufficient to form a
 12   belief as to whether the obligation at issue in this case was incurred primarily for
 13   personal, family or household use, and therefore can neither admit nor deny that the
 14   Plaintiffs are “consumers” as that term is defined under defined under the FDCPA
 15   and/or the RFDCPA. PRA further states that it lacks information or knowledge
 16   sufficient to form a belief as to whether the Plaintiffs reside in Riverside County.
 17          5.     PRA admits that at times it has sought to collect unpaid financial
 18   obligations owed by individuals in California. PRA further admits that it is a Delaware
 19   limited liability company. PRA further states that it lacks information or knowledge
 20   sufficient to form a belief as to whether the obligation at issue in this case was incurred
 21   primarily for personal, family or household use, and therefore can neither admit nor
 22   deny that it is a “debt collector” as that term is defined under defined under the
 23   FDCPA and the RFDCPA. To the extent not herein admitted the remaining allegations
 24   of this paragraph are denied.
 25          6.     PRA admits that as a limited liability company it can only act through its
 26   agents and only as long as they act within the scope of their authority. To the extent
 27   not herein admitted the remaining allegations of this paragraph are denied.
 28          7.     PRA states that it lacks information or knowledge sufficient to form a

      DEFENDANT PRA ANSWER & DEFENSES   5:19-cv-02198-DSF-SHK                                  2
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  1   belief as to whether the obligations at issue in this case were incurred primarily for
  2   personal, family or household use, and therefore can neither admit nor deny that the
  3   obligations are “consumer debts” as that term is defined under the FDCPA and the
  4   RFDCPA. To the extent not herein admitted the remaining allegations of this
  5   paragraph are denied.
  6          8.     PRA states that it lacks information or knowledge sufficient to form a
  7   belief as to the allegations in Paragraph 8.
  8          9.     PRA states that it lacks information or knowledge sufficient to form a
  9   belief as to the allegations in Paragraph 9.
 10          10.    PRA states that it lacks information or knowledge sufficient to form a
 11   belief as to the allegations in Paragraph 10.
 12          11.    PRA states that it lacks information or knowledge sufficient to form a
 13   belief as to the allegations in Paragraph 11.
 14          12.    PRA states that it lacks information or knowledge sufficient to form a
 15   belief as to the allegations in Paragraph 12.
 16          13.    PRA states that it lacks information or knowledge sufficient to form a
 17   belief as to the allegations in Paragraph 13.
 18          14.    PRA states that it lacks information or knowledge sufficient to form a
 19   belief as to the allegations in Paragraph 14.             PRA further states that it lacks
 20   information or knowledge sufficient to form a belief as to whether the obligations at
 21   issue in this case were incurred primarily for personal, family or household use, and
 22   therefore can neither admit nor deny that the obligations are “consumer debts” as that
 23   term is defined under the FDCPA and the RFDCPA. To the extent not herein admitted
 24   the remaining allegations of this paragraph are denied.
 25          15.    PRA states that it lacks information or knowledge sufficient to form a
 26   belief as to the allegations in Paragraph 15.
 27          16.    PRA states that it lacks information or knowledge sufficient to form a
 28   belief as to the allegations in Paragraph 16.

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  1          17.      Denied.
  2          18.      PRA states that it lacks information or knowledge sufficient to form a
  3   belief as to the allegations in Paragraph 18.
  4          19.      PRA repeats and realleges paragraphs 1 through 18 as though fully set
  5   forth herein.
  6          20.      PRA states that it lacks information or knowledge sufficient to form a
  7   belief as to whether the obligations at issue in this case were incurred primarily for
  8   personal, family or household use, and therefore can neither admit nor deny that the
  9   plaintiffs are “consumers” as that term is defined under the FDCPA and the RFDCPA.
 10   To the extent not herein admitted the remaining allegations of this paragraph are
 11   denied.
 12          21.      PRA states that it lacks information or knowledge sufficient to form a
 13   belief as to whether the obligations at issue in this case were incurred primarily for
 14   personal, family or household use, and therefore can neither admit nor deny that the
 15   it is a “debt collector” as that term is defined under the FDCPA and the RFDCPA. To
 16   the extent not herein admitted the remaining allegations of this paragraph are denied.
 17          22.      PRA admits that at times it has sought to collect unpaid financial
 18   obligations owed by individuals in California. PRA further states that it lacks
 19   information or knowledge sufficient to form a belief as to whether the obligation at
 20   issue in this case was incurred primarily for personal, family or household use, and
 21   therefore can neither admit nor deny that it is a “debt collector” as that term is defined
 22   under defined under the FDCPA and the RFDCPA. To the extent not herein admitted
 23   the remaining allegations of this paragraph are denied.
 24          23.      PRA states that it lacks information or knowledge sufficient to form a
 25   belief as to whether the obligations at issue in this case was incurred primarily for
 26   personal, family or household use, and therefore can neither admit nor deny that they
 27   are “debts” as that term is defined under defined under the FDCPA and the RFDCPA.
 28   To the extent not herein admitted the remaining allegations of this paragraph are

      DEFENDANT PRA ANSWER & DEFENSES   5:19-cv-02198-DSF-SHK                                 4
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  1   denied.
  2          24.    The allegations in paragraph 24 are legal conclusions to which no
  3   response is required by PRA.
  4          25.    Denied.
  5          26.    Denied.
  6          27.    The allegations in paragraph 27 are legal conclusions to which no
  7   response is required by PRA.
  8          28.    The allegations in paragraph 28 are legal conclusions to which no
  9   response is required by PRA.
 10          29.    Denied.
 11          30.    The allegations in paragraph 30 are legal conclusions to which no
 12   response is required by PRA.
 13          31.    Denied.
 14          32.    Denied.
 15                                 AFFIRMATIVE DEFENSES
 16         PRA hereby sets forth the following affirmative defenses to the Complaint.
 17                             FIRST AFFIRMATIVE DEFENSE
 18                                     (Failure to State a Claim)
 19          Plaintiffs’ claims fail to the extent the Complaint fails to set forth facts
 20   sufficient to state a claim upon which relief may be granted against PRA and fails to
 21   state facts sufficient to entitle Plaintiff to the relief sought.
 22                            SECOND AFFIRMATIVE DEFENSE
 23                                     (Compliance/Good Faith)
 24          Plaintiffs’ claims fail to the extent that, at all relevant times with respect to
 25   Plaintiffs, PRA acted in good faith and complied fully with the FDCPA and
 26   RFDCPA.
 27   ///
 28   ///

      DEFENDANT PRA ANSWER & DEFENSES      5:19-cv-02198-DSF-SHK                                 5
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  1                             THIRD AFFIRMATIVE DEFENSE
  2                                       (Bona Fide Error)
  3          Plaintiffs’ claims under the FDCAP and RFDCPA fail to the extent any
  4   violation resulted from a bona fide error, notwithstanding the maintenance of
  5   procedures reasonably adapted to avoid any such error.
  6                           FOURTH AFFIRMATIVE DEFENSE
  7                                (Fair and Conscionable Means)
  8          Plaintiffs’ claims fail to the extent the means employed by PRA to collect the
  9   debts at issue were fair and conscionable.
 10                             FIFTH AFFIRMATIVE DEFENSE
 11                                      (Proximate Cause)
 12          Plaintiffs’ claims fail to the extent Plaintiffs’ purported damages, which PRA
 13   continues to deny, were the direct and proximate result of the conduct of Plaintiffs
 14   or others.
 15                             SIXTH AFFIRMATIVE DEFENSE
 16                                     (Vicarious Liability)
 17          Plaintiffs’ claims against PRA fail to the extent that Plaintiffs seeks to hold
 18   PRA liable, vicariously or otherwise, for the acts or omissions of others.
 19                           SEVENTH AFFIRMATIVE DEFENSE
 20                                 (Failure to Mitigate Damages)
 21          Plaintiffs’ claims are barred, in whole or in part, to the extent that Plaintiffs
 22   failed to mitigate their alleged damages.
 23                            EIGHTH AFFIRMATIVE DEFENSE
 24                                         (Authorization)
 25          Plaintiffs’ claims fail to the extent PRA’s actions were authorized by the
 26   terms of the underlying agreement(s) creating the debt(s).
 27   ///
 28   ///

      DEFENDANT PRA ANSWER & DEFENSES    5:19-cv-02198-DSF-SHK                                   6
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  1                             NINTH AFFIRMATIVE DEFENSE
  2                                           (Damages)
  3          Any recovery Plaintiffs receive is subject to a set off if any damages are
  4   awarded against PRA, in the amount of any damages or settlement amounts
  5   recovered by Plaintiff with respect to the same alleged damages. PRA is also
  6   entitled to have any damages that may be awarded to Plaintiffs reduced by the value
  7   of any benefit or payment to Plaintiff from any collateral source.
  8                             TENTH AFFIRMATIVE DEFENSE
  9                                     (Statutory Damages)
 10          Plaintiffs cannot recover from PRA individually for statutory damages on the
 11   grounds that any award of statutory damages would be impermissible under the Due
 12   Process Clause of the Fourteenth Amendments to the United States Constitution and
 13   the Excessive Fines Clause of the Eighth Amendment to the United States
 14   Constitution, due to the lack of any actual damages suffered by Plaintiffs and the
 15   gross disparity between the allegations of harm and the size of the claim. Stating
 16   further, any award of statutory damages would violate the constitutional standards
 17   enunciated in cases such as BMW of N. Am., Inc. v. Gore, 517 U.S. 559 (1996), and
 18   State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S. 408 (2003).
 19          WHEREFORE, PRA prays that Plaintiffs take nothing by way of their
 20   Complaint; for costs of this action, and all other proper relief.
 21   ///
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      DEFENDANT PRA ANSWER & DEFENSES   5:19-cv-02198-DSF-SHK                              7
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  1   Dated: January 16, 2020           Respectfully submitted,
  2                                     PORTFOLIO RECOVERY ASSOCIATES, LLC
  3

  4                                     /s/ Nathan A. Searles
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  5                                     Nathan.Searles@PRAGroup.com
                                        PRA Group Inc.
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                                        (757) 321-2518 (fax)
  8
                                        Attorney for Defendant
  9                                     Portfolio Recovery Associates, LLC
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      DEFENDANT PRA ANSWER & DEFENSES   5:19-cv-02198-DSF-SHK                    8
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  1                                     PROOF OF SERVICE
  2

  3
           I am over the age of 18 and not a party to this action. My business address is:
      140 Corporate Boulevard, Norfolk, Virginia 23502.
  4

  5          On January 15, 2020, I served true copies of the following document(s), with
      all exhibits and attachments (if any):
  6

  7          Defendant Portfolio Recovery Associates, LLC’s Answer and Affirmative
             Defenses
  8

  9            Via ECF notification:

 10           NICHOLAS M. WAJDA
 11           nick@wajdalawgroup.com
              WAJDA LAW GROUP, APC
 12           6167 Bristol Parkway, Suite 200
 13           Culver City, California 90230
              Telephone: (310) 997-0471
 14           Facsimile: (866) 286-8433
 15           Attorney for Plaintiffs

 16          I am readily familiar with the company’s practice of collection and processing
 17   correspondence for mailing. Under that practice, it would be deposited with the U.S.
      Postal Service on that same day with postage thereon fully prepaid in the ordinary
 18   course of business. I am aware that on motion of the party served, service is presumed
 19   invalid if postal cancellation date or postage date is more than one day after date of
      deposit for mailing in affidavit.
 20

 21          I declare that I am employed in the office of a member of the Bar of this Court
      at whose direction the service was made and declare under penalty of perjury under
 22   the laws of the State of California that the foregoing is true and correct.
 23
             Executed on January 15, 2020, at Norfolk, Virginia.
 24

 25                                               ________________
                                                  Sonia Gomez, Paralegal
 26                                               PRA Group
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      DEFENDANT PRA ANSWER & DEFENSES    5:19-cv-02198-DSF-SHK                            9
